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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

 BARRY FRANZ VERDIEU,

              Petitioner,

 v.                                         Case No: 2:14-cv-358-FtM-29MRM
                                              Case No. 2:11-CR-66-FTM-29DNF
 UNITED STATES OF AMERICA,

              Respondent.



                               OPINION AND ORDER

        This matter comes before the Court on petitioner’s Motion to

 Vacate, Set Aside, or Correct Sentence (Cv. Doc. #1; Cr. Doc.

 #141) 1 filed on June 27, 2014.       The government filed a Response in

 Opposition     to   Motion   (Cv.   Doc.   #6)   on   August   29,     2014.    The

 petitioner filed a Reply (Cv. Doc. #7) on September 18, 2014.

                                            I.

        On July 6, 2011, a federal grand jury in Fort Myers, Florida

 returned a two-count Indictment (Cr. Doc. #3) charging petitioner

 and    his   co-defendant    John   Peterson     Alexis   in   Count    One    with

 conspiracy to possess with intent to distribute oxycodone in

 violation of Title 21, United States Code, Sections 841(a)(1) and



 1The Court will make references to the dockets in the instant
 action and in the related criminal case throughout this opinion.
 The Court will refer to the docket of the civil habeas case as
 “Cv. Doc.”, and will refer to the docket of the underlying criminal
 case as “Cr. Doc.”
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 841(b)(1)(C), all in violation of Title 21, United States Code,

 Sections 846.        In Count Two, petitioner and his co-defendant were

 charged with knowingly carrying a firearm and ammunition during

 and in relation to a drug trafficking crime, knowingly possessing

 the firearm and ammunition in furtherance of the drug trafficking

 crime identified in Count One, and knowingly aiding and abetting

 the carrying and possession in violation of Title 18, United States

 Code, Section 924(c)(1)(A)(I) and § 2.

        Petitioner proceeded to trial as to both counts, and co-

 defendant John Peterson Alexis proceeded to trial as to Count Two

 only.    After a 3-day trial, the jury rendered a Verdict of guilty

 on both counts for petitioner, and as to the co-defendant on Count

 Two.    (Cr. Doc. #78.)

        Prior to sentencing, trial counsel Robert P. Harris filed a

 Sentencing Memorandum and Request for Reasonable Sentence (Cr.

 Doc. #90).      On April 23, 2012, the Court sentenced petitioner to

 a term of imprisonment of 60 months as to Count One, and a term of

 60 months as to Count Two to be served consecutively to Count One,

 followed   by    a    term   of   supervised   release.   (Cr.   Doc.   #94.)

 Judgment (Cr. Doc. #97) was filed on April 24, 2012, and a Notice

 of Appeal (Cr. Doc. #99) was filed the next day.

        The Court permitted attorney Robert P. Harris to withdraw,

 and Scott Robbins was appointed to represent petitioner on appeal.

 (Cr. Doc. #112.)       On appeal, petitioner and his co-defendant both



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 argued that the evidence at trial was insufficient to sustain the

 conviction as to Count Two.          (Cr. Doc. #139.)          On May 30, 2013,

 the Eleventh Circuit affirmed the conviction and sentence finding

 that    the   evidence    was    sufficient    to    convict      under    the     “in

 furtherance     of   .   .   .   .   possesses      prong”   of    18     U.S.C.    §

 924(c)(1)(A), and the evidence at trial was sufficient to establish

 a nexus between the pistol and the drug transaction.                      (Id., pp.

 5-6.)

         Petitioner’s current motion was signed and filed by counsel

 on June 27, 2014.        Since a petitioner “gets the benefit of up to

 90 days between the entry of judgment on direct appeal and the

 expiration of the certiorari period 1,” Kaufmann v. United States,

 282 F.3d 1336, 1338 (11th Cir. 2002), the motion was timely filed.

 See also 28 U.S.C. § 2255(f).

                                          II.

         Petitioner’s two arguments focus on Count Two only, i.e., the

 carrying of a firearm in relation to a drug trafficking offense,

 or possession in furtherance of a drug trafficking offense, or

 knowingly aiding and abetting in the carrying or possession in

 violation of 18 U.S.C. § 924(c)(1)(A)(i) and § 2.                       Petitioner

 argues ineffective assistance of counsel for failure to call an




 1 The issuance of the mandate is irrelevant to determining the
 finality of the judgment. Close v. United States, 336 F.3d 1283,
 1285 (11th Cir. 2003).


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 essential witness (Carol Smith) to verify petitioner’s testimony;

 and, for the failure to reasonably investigate and interview the

 witness (Carol Smith) to corroborate petitioner’s testimony that

 he did not know that the gun was in the center console area of the

 vehicle.

       A. Evidentiary Hearing Standard

       A district court shall hold an evidentiary hearing on a habeas

 petition “unless the motion and the files and records of the case

 conclusively show that the prisoner is entitled to no relief. . .

 .” 28 U.S.C. § 2255(b).      “[I]f the petitioner alleges facts that,

 if true, would entitle him to relief, then the district court

 should order an evidentiary hearing and rule on the merits of his

 claim.”    Aron v. United States, 291 F.3d 708, 714-15 (11th Cir.

 2002) (citation omitted).         However, a “district court is not

 required to hold an evidentiary hearing where the petitioner’s

 allegations are affirmatively contradicted by the record, or the

 claims are patently frivolous.”         Id. at 715. See also Gordon v.

 United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (a hearing is

 not   necessarily    required    whenever   ineffective     assistance    of

 counsel is asserted).      To establish entitlement to an evidentiary

 hearing, petitioner must “allege facts that would prove both that

 his counsel performed deficiently and that he was prejudiced by

 his counsel’s deficient performance.”        Hernandez v. United States,

 778 F.3d 1230, 1232-33 (11th Cir. 2015).        Viewing the facts alleged



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 in the light most favorable to petitioner, the Court finds that

 the record establishes that petitioner is not entitled to relief,

 and therefore an evidentiary hearing is not required.

        B. Ineffective Assistance of Counsel Standard

        The legal standard for ineffective assistance of counsel

 claims in a habeas proceeding is well established.                    To prevail on

 a claim of ineffective assistance of counsel, a habeas petitioner

 must demonstrate both that (1) counsel's performance was deficient

 because it fell below an objective standard of reasonableness, and

 (2) prejudice resulted because there is a reasonable probability

 that,    but    for     the   deficient     performance,      the    result     of   the

 proceeding would have been different.                  Hinton v. Alabama, ___ U.S.

 ___,    134    S.   Ct.   1081,     1087-88      (2014)    (citing    Strickland     v.

 Washington, 466 U.S. 668, 687, 694 (1984) and Padilla v. Kentucky,

 559 U.S. 356, 366 (2010)).                “Because a petitioner's failure to

 show either deficient performance or prejudice is fatal to a

 Strickland claim, a court need not address both Strickland prongs

 if the petitioner fails to satisfy either of them.”                           Kokal v.

 Sec'y, Dep't of Corr., 623 F.3d 1331, 1344 (11th Cir. 2010)

 (citations omitted).

        The     proper     measure    of    attorney       performance      is   simply

 reasonableness under prevailing professional norms considering all

 the    circumstances.          Hinton,     134    S.    Ct.   at    1088   (citations

 omitted).       “A fair assessment of attorney performance requires



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 that every effort be made to eliminate the distorting effects of

 hindsight,     to    reconstruct    the     circumstances        of   counsel's

 challenged conduct, and to evaluate the conduct from counsel's

 perspective at the time.”       Strickland, 466 U.S. at 689.            See also

 Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000) (the Court looks to

 facts at the time of counsel’s conduct).             This judicial scrutiny

 is    highly   deferential,   and     the   Court    adheres     to   a    strong

 presumption that counsel’s conduct falls within the wide range of

 reasonable professional assistance.         Strickland, 466 U.S. at 689-

 90.    To be objectively unreasonable, the performance must be such

 that no competent counsel would have taken the action.                    Rose v.

 McNeil, 634 F.3d 1224, 1241 (11th Cir. 2011); Hall v. Thomas, 611

 F.3d 1259, 1290 (11th Cir. 2010).           Additionally, an attorney is

 not ineffective for failing to raise or preserve a meritless issue.

 United States v. Winfield, 960 F.2d 970, 974 (11th Cir. 1992);

 Ladd v. Jones, 864 F.2d 108, 109-10 (11th Cir. 1989).

       C. Factual Background

       On   appeal,   the   Eleventh    Circuit      summarized    the     factual

 background as follows:

             On June 22, 2011, Verdieu rented a Chevrolet
             Traverse sport utility vehicle from Enterprise
             Car Rental in West Palm Beach, Florida. Two
             days later, on June 24, Verdieu and Alexis
             drove the Traverse to the Edison Mall in Fort
             Meyers [sic] where Alexis had arranged to
             purchase 3,000 oxycodone pills for $10,500
             from a confidential informant (Cl) cooperating
             with the Drug Enforcement Administration



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             (DEA). DEA agents and local law enforcement
             officers were waiting for Verdieu and Alexis
             at the mall.

             After parking the Traverse in the mall parking
             lot, Verdieu and Alexis entered the mall,
             where Alexis met the CI in the food court.
             When Alexis failed to persuade the CI to
             conduct the drug sale in the parking lot,
             Alexis and Verdieu returned to the Traverse so
             that Alexis could retrieve the cash. Verdieu
             then remained in the car while Alexis went
             back to the food court to finish the
             transaction.

             At the food court Alexis and the CI prepared
             to exchange “a big wad of cash” for a bag of
             pills. The transaction was interrupted when
             Alexis “received a phone call from someone .
             . . and abruptly got up and . . . left.”
             Alexis returned to the Traverse, where Verdieu
             was waiting in the driver’s seat, and got in
             the front passenger side.

             At this point DEA agents moved in and arrested
             the pair. As agents were handcuffing Verdieu,
             one asked him if he had any guns.      Verdieu
             responded that he had one in the back seat of
             the Traverse, in a laptop computer bag.
             Although the agents did not find the gun in
             the back seat or the laptop bag, they found a
             fully loaded .38 caliber semi-automatic pistol
             between the driver’s seat and the front
             passenger seat, in the Traverse’s open center
             console. The firearm was located alongside a
             partially unwrapped sandwich, an open bottle
             of water, a camera case, a phone charger, and
             a CD. The gun was positioned in such a way
             that it could be easily withdrawn from the
             Traverse's console by either the driver or the
             front passenger.      The agents also found
             $10,500 in Verdieu's pants pocket.

 (Cr. Doc. #139, pp. 2-3); United States v. Verdieu, 520 F. App'x

 865, 866 (11th Cir. 2013).




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        During trial, Special Agent Price testified that the semi-

 automatic pistol was found in the console between the driver’s

 seat and the passenger’s seat of the vehicle rented by petitioner.

 (Cr. Doc. #117, pp. 192, 213.)         The pistol was loaded, with the

 barrel facing the rear of the vehicle, and the magazine contained

 five rounds of ammunition in addition to the round that was

 chambered.    (Id., pp. 193, 195.)      Also in the center console were

 a bottle a water, a sandwich, a camera case, and a phone charger.

 (Id., p. 195.)

        An investigator with the Department of Agriculture Consumer

 Services, Division of Licensing, testified that petitioner applied

 for a concealed weapons permit on September 11, 2006, and was

 issued the permit on January 16, 2007.          The permit was suspended

 on June 29, 2010, and notice was sent by certified mail to

 petitioner’s listed address in West Palm Beach, Florida.               (Cr.

 Doc. #118, pp. 54-55.)      Avery Vaughn Milstead of First Choice Gun

 & Ammo testified that petitioner purchased the Jimenez .380 handgun

 and another gun from him in West Palm Beach, Florida, on September

 11, 2010.    (Id., pp. 79-81.)

        Petitioner admitted upon arrest that he had a firearm in the

 car, and indicated it was in his laptop bag.           (Cr. Doc. #119, p.

 36.)    The vehicle was a rental car rented by petitioner because

 his fiancé was pregnant and she needed the car to take the kids to

 school while her car was being repaired.         Petitioner testified he



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 used the car on the day of the arrest because his fiancé was done

 with it, and he figured he could conduct his air conditioner

 related business and be back the next day.         (Id., pp. 37-38.)      As

 relevant here, petitioner further testified:

             A. Well, the firearm was in my laptop bag and
             since the car was in the shop, we parked the
             car in our garage and that morning when she
             was taking the kids to school, she noticed
             that my laptop bag was in the back seat, so
             she removed the firearm and put it in the glove
             -- inside the center console so the kids
             wouldn't mess with it because they -- they go
             through my stuff at times. But it was the right
             thing to do because she didn't want the
             firearm in the back seat with the kids.

             Q. Okay. I think I'm a little confused. You
             said that you live with your mother?

             A. I live with my mother currently because of
             the situation.

             Q. All right. At the time you lived with your
             fiancé?

             A. Right, yes.

             Q. And children?

             A. Yes. The judge would allow me to stay with
             my mother during this whole -- this whole
             case.

             Q. All right. So now did you know that the
             firearm was in the center console?

             A. No, I did not.

             Q. And when the police -- did the police have
             you on the ground at the time you told them
             where you thought the firearm was?

             A. Yes, I was.




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             Q. Did you have any reason to lie to them at
             that point?

             A. No, I did not.

             Q. Were you attempting to be cooperative?

             A. I was fully cooperative.

             . . .

             Getting back to the firearm, you weren't sure
             that it was in the center console?

             A. No, I was not.

             Q. But did you put a hamburger in that center
             console at some point?

             A. No, I did not. That hamburger was already
             in there on top of the firearm.

             Q. When did the -- when did the hamburger get
             there?

             A. Well, it -- I'm not sure what it was. It
             was – it was something that was in aluminum
             foil and with -- with a paper towel around it.
             So I figure it was something that she was
             eating, maybe.

             Q. You figure that now?

             A. Yes.

             Q. What do you mean there was a towel around
             it?

             . . .

             A. There was aluminum foil, paper towel, as
             far as in the picture. That's how she carries
             the sandwiches she would put a sandwich that
             she made in aluminum foil and paper towel to
             wipe her mouth after she ate it.

             Q. So the fact that the firearm was butt up,
             I guess as they say, did that have any
             significance to you?



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             A. No, sir.

             Q. You didn't put it there?

             A. I didn't put it there.

  (Id., pp. 38-39, 41, 42.)           Petitioner testified that he did not

  know that his concealed weapons permit had been suspended since he

  had faxed back the required information and assumed it was “back

  in operation.”        (Id., p. 43.)          During closing argument, the

  government argued:

             And Mr. Verdieu would have you believe that
             that's just something his wife left in that
             rental car previously. And he would have you
             believe that his wife moved, or girlfriend –
             fiancé, I think he referred to her, moved the
             gun from the computer bag to the center
             console, placing it butt up so that anyone who
             needed it would have easy access to it. He
             didn't know she had done that because she
             didn't tell him. A tall tale, ladies and
             gentlemen? You alone are the judges of that.

  (Id., p. 62.)

       The Court instructed the jury that petitioner could only be

  found   guilty   if   the   facts    as    to   Count   Two   showed   beyond   a

  reasonable doubt that petitioner conspired to possess with intent

  to distribute Oxycodone as charged in Count One; that petitioner

  knowingly carried or possessed a firearm; and that petitioner

  either carried the firearm during and in relation to the drug

  trafficking crime, or that petitioner possessed it in furtherance

  of the drug trafficking crime.            (Cr. Doc. #119, p. 111.)




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       D. Merits

       “Concerning         the    analysis         of    attorney      competence,     the

  protections of the Sixth Amendment necessarily extend to counsel’s

  activities      before     trial,         when   consultation,         thorough    going

  investigation and preparation [are] vitally important.”                         Mulligan

  v. Kemp, 771 F.2d 1436, 1440 (11th Cir. 1985) (quoting Powell v.

  Alabama,     287   U.S.        45,    57     (1932)).            Evaluating     counsel’s

  effectiveness is from the “standpoint of what was possible at the

  time”, and the evaluation “of whether an attorney has adequately

  conducted pre-trial investigation is complex, depending upon such

  factors    as   the   number         of    issues     in   the    case,   the   relative

  complexity of those issues, the strength of the government's case,

  and the overall strategy of trial counsel.”                        Mulligan, 771 F.2d

  at 1440 & 1441 (citation omitted).

              [S]trategic   choices  made   after   thorough
              investigation of law and facts relevant to
              plausible      options      are      virtually
              unchallengeable; and strategic choices made
              after less than complete investigation are
              reasonable precisely to the extent that
              reasonable professional judgments support the
              limitations on investigation. In other words,
              counsel has a duty to make reasonable
              investigations or to make a reasonable
              decision that makes particular investigations
              unnecessary. In any ineffectiveness case, a
              particular decision not to investigate must be
              directly assessed for reasonableness in all
              the circumstances, applying a heavy measure of
              deference to counsel's judgments.




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  Strickland, 466 U.S. at 690–91.        “[T]here is no absolute duty to

  investigate particular facts or a certain line of defense, although

  a   complete   failure   to   investigate    may   constitute    deficient

  performance of counsel in certain circumstances.”         Fugate v. Head,

  261 F.3d 1206, 1217 (11th Cir. 2001).

       Petitioner argues that his fiancé’s testimony would have

  corroborated and given credibility to his own testimony at trial

  that he did not know that the gun was in the center console during

  the drug trafficking.      As a preliminary matter, the Court notes

  that no affidavits or statements from Carol Smith were attached in

  support of the petition, although counsel states that they could

  readily be produced if required. 2         The Court will only consider

  what was timely submitted for filing with the motion.              Arguing

  that an evidentiary hearing is required without first providing a

  factual basis for the hearing does not entitle petitioner to a

  hearing.    Rather, to be entitled to a hearing, petitioner must

  sufficiently allege facts supporting both deficient performance

  and prejudice.    Hernandez v. United States, 778 F.3d at 1232-33.

       1. Reasonableness Prong

       Speculation as to the substance of Carol Smith’s testimony,

  and that it would have been helpful, is insufficient to carry



  2 Counsel argues that if the Court were to find that an affidavit
  is required, the “remedy” would be to require petitioner to
  supplement or amend the motion, not dismissal. (Cv. Doc. #7, p.
  3.) No legal support is provided for this position.


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  petitioner’s burden to show that counsel’s conduct was deficient.

  “Which witnesses, if any, to call, and when to call them, is the

  epitome of a strategic decision, and it is one that we will seldom,

  if ever, second guess.”        Waters v. Thomas, 46 F.3d 1506, 1512

  (11th Cir. 1995) (citation omitted). 3       Carol Smith’s testimony may

  or may not have been consistent with petitioner’s version of

  events, but would obviously have been viewed as biased given her

  relationship to petitioner.         Even if consistent, a reasonable

  attorney would not necessarily have called her as a witness subject

  to cross-examination by the government.                  Petitioner’s “mere

  speculation”, e.g., Streeter v. United States, 335 F. App'x 859,

  864 (11th Cir. 2009), fails to support a finding that counsel’s

  failure to call Carol Smith rendered his assistance ineffective.

  Chandler v. United States, 218 F.3d 1305, 1319 (11th Cir. 2000)

  (“Considering the realities of the courtroom, more is not always

  better.   Stacking defenses can hurt a case.”).

       Petitioner    elected   to   testify,   and    it    would   appear   his

  testimony was not believable to the jury.          United States v. Brown,

  53 F.3d 312, 314 (11th Cir. 1995) (“[W]hen a defendant chooses to



  3 “When a defense counsel fails to investigate his client’s only
  possible defense, although requested to do so by him; and fails to
  subpoena witnesses in support of the defense, it can hardly be
  said that the defendant has had the effective assistance of
  counsel.”   Gomez v. Beto, 462 F.2d 596, 597 (5th Cir. 1972).
  However, in this case, there is no argument or affidavit to
  indicate that petitioner told his attorney to investigate his
  fiancé, call her as a witness, or that she was willing to testify.


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  testify, he runs the risk that if disbelieved “the jury might

  conclude   the    opposite    of   his   testimony   is   true.”).     Nothing

  establishes      that    counsel   provided    ineffective    assistance    in

  deciding not to call petitioner’s fiancé as a witness.               Based on

  the testimony and overwhelming evidence presented at trial of

  petitioner’s possession, access, and ownership of the firearm, the

  Court   finds     that    petitioner     has   not   shown   that    counsel’s

  performance was deficient.

       2. Prejudice Prong

       Petitioner was charged in Count Two under a statute that

  provides: “. . . any person who, during and in relation to any

  crime of violence or drug trafficking crime [ ] for which the

  person may be prosecuted in a court of the United States, uses or

  carries a firearm, or who, in furtherance of any such crime,

  possesses a firearm, shall, in addition to the punishment provided

  for such crime of violence or drug trafficking crime . . . be

  sentenced to a term of imprisonment of not less than 5 years.”             18

  U.S.C. § 924(c)(1)(A)(i).          The Jury found petitioner guilty of

  Count Two, and specifically found that petitioner both carried the

  firearm during and in relation to the drug trafficking crime, and

  that petitioner possessed the firearm in furtherance of the drug

  trafficking crime.       (Cr. Doc. #78, p. 4.)

       The Court defined possession to the jury to include actual

  and constructive possession, and as follows:



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               To possess a firearm in furtherance of a crime
               means that the firearm helped, promoted, or
               advanced the crime in some way. To carry a
               firearm is to transport or control a firearm
               in a way that makes it available for immediate
               use while committing the drug trafficking
               crime. To carry a firearm is not limited to
               the carrying of firearms on the person. It
               also applies to a person who knowingly
               possesses and conveys a firearm in a vehicle,
               including the locked glove compartment or
               trunk of a car which the person accompanies.

               To carry a firearm during a crime means that
               there is a temporal link between the carrying
               of the firearm and the drug trafficking crime.
               That is, the carrying of the firearm must have
               occurred at the same time as the drug
               trafficking violation.

               To carry a firearm in relation to a crime means
               that there must be a firm connection between
               the defendant, the firearm, and the drug
               trafficking crime. The firearm must have
               helped with some important function or purpose
               of the crime, and not simply have been there
               accidentally or coincidentally.

  (Id., pp. 112-113) (emphasis added).           While it is true that the

  possession of the firearm cannot be “coincidental or entirely

  ‘unrelated’ to the crime”, it is “in relation to” if it facilitates

  or has the potential to facilitate the drug trafficking offense.

  Smith   v.   United   States,   508   U.S.   223,   238   (1993)   (citations

  omitted).     For “furtherance”, “a conviction under this portion of

  § 924(c) requires that the prosecution establish that the firearm

  helped, furthered, promoted, or advanced the drug trafficking.”

  United States v. Timmons, 283 F.3d 1246, 1252 (11th Cir. 2002).

  The government can establish a nexus between a firearm and the



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  drug trafficking by “the type of drug activity that is being

  conducted, accessibility of the firearm, the type of the weapon,

  whether   the   weapon     is    stolen,    the   status   of    the     possession

  (legitimate or illegal), whether the gun is loaded, proximity to

  the drugs or drug profits, and the time and circumstances under

  which the gun is found.”         Timmons, at 1253 (citations omitted).

         In this case, petitioner was identified as the driver of the

  rental vehicle, which was rented in his name.              At the Edison Mall,

  petitioner was observed driving up and down the rows in the parking

  lot, and parking in different spaces before exiting the vehicle to

  walk   into   the   food    court    with   his   co-defendant.          After    co-

  defendant’s meeting with the undercover agent and a confidential

  source,   petitioner       was   observed    exiting   the      Edison    Mall    and

  returning to the vehicle, which was again moved.                         After the

  undercover agent left to retrieve the Oxycodone, petitioner was

  arrested.     A search of petitioner revealed a large sum of money

  in his left pant pocket, and a small amount of marijuana consistent

  with personal use inside a bag in his right front pocket.                        When

  asked, petitioner stated that there may be a gun in his computer

  bag, in the vehicle, for which he had a concealed weapons permit.

  The firearm was located with a loaded magazine in the open center

  console of the vehicle, upside down, butt up, facing the same

  direction as the vehicle.           (Cr. Doc. #146, ¶¶ 14-25.)




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       The testimony of petitioner’s fiancé would not have changed

  the result of the guilty verdict because it would not add any

  material factual matters that were not already part of the record.

  Therefore petitioner cannot establish prejudice.          Strickland, 466

  U.S. at 694 (a defendant must show that there is a “reasonable

  probability” that the result of the proceedings would have been

  different, “sufficient to undermine confidence in the outcome”).

  See also Franklin v. United States, 227 F. App'x 856, 860 (11th

  Cir. 2007) (finding that evidence of guilt was so overwhelming

  that hearing was not required to show an absence of prejudice).

       Accordingly, it is hereby

       ORDERED AND ADJUDGED:

       1.    Petitioner’s Motion Under 28 U.S.C. Section 2255 to

  Vacate, Set Aside or Correct Sentence by a Person in Federal

  Custody (Cv. Doc. #1; Cr. Doc. #141) is DENIED.

       2.   The Clerk of the Court shall enter judgment accordingly

  and close the civil file.      The Clerk is further directed to place

  a copy of the civil Judgment in the criminal file.

       IT IS FURTHER ORDERED:

       A CERTIFICATE OF APPEALABILITY (COA) AND LEAVE TO APPEAL IN

  FORMA PAUPERIS ARE DENIED.       A prisoner seeking a writ of habeas

  corpus has no absolute entitlement to appeal a district court’s

  denial of his petition.     28 U.S.C. § 2253(c)(1); Harbison v. Bell,

  556 U.S. 180, 183 (2009).       “A [COA] may issue . . . only if the



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  applicant has made a substantial showing of the denial of a

  constitutional right.”      28 U.S.C. § 2253(c)(2).       To make such a

  showing,   Petitioner   “must   demonstrate    that   reasonable   jurists

  would find the district court’s assessment of the constitutional

  claims debatable or wrong,” Tennard v. Dretke, 542 U.S. 274, 282

  (2004), or that “the issues presented were adequate to deserve

  encouragement to proceed further,” Miller-El v. Cockrell, 537 U.S.

  322, 336 (2003)(citations omitted).        Petitioner has not made the

  requisite showing in these circumstances.

       Finally, because Petitioner is not entitled to a certificate

  of appealability, he is not entitled to appeal in forma pauperis.

       DONE and ORDERED at Fort Myers, Florida, this             15th     day

  of June, 2017.




  Copies:
  Petitioner
  AUSA




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